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UNlTED S'l`ATES OF AMERICA,
CR 04-5013 l
Plaintiff,

Vs. TRIAL MEMORANDUl\/l

JOHN WATERS,

Defendant.

 

T he United States anticipates introducing the excited utterances ot` one ot` the
survivors of the vehicle crash. Federal Rule oi` Evidence 803(2) provides that hearsay
statements are admissible When the statement relates to a startling event or condition made
while the declarant Was under the stress ot`excitement caused by an event or Condition. 'l`he
relevant factors a court should consider include the time between the startling event and the
statement, Whether the statement Was made in response to an inquiry, the age ot`the declarant.
the physical and mental condition of the declarant, the characteristics of the event. and the

subject matter ofthe statement. United States v. Phelps, 168 F.3d 1048, 1054 (8"‘ Cir. 1999)
(citation omitted). “In order for Rule 803(c) to apply, it must appear that the declarant’s

condition at the time of such statement Was such that the statement Was spontaneous excited

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or impulsive rather than the product of reflection and deliberation." @ (citation and
quotation marks omitted); g also United States v. Sewell, 90 F.3d 326, 327 (8"‘ Cir. 1996)
( the justification for the excited utterances exception derives from the teaching ofexperience
that the stress of nervous excitement or physical shock stills the reflective faculties._ removing
an impediment to truthfulness).

T he government anticipates that Jim Risse, the first responder at the crash site. will
testify that Dorothy Chipps, a crash survivor, informed him that the defendant was driving
the vehicle at the time of the crash and that there were other people still inside the vehicle.
Risse Will likely testify that these statements Were made a short time after the crash and that
Chipps was extremely upset and excited - because of the crash ~ at the time. The
government asserts that these statements are admissible under Rule 803(2).

Dated this 7th day of February, 2005 .

l\/IICHELLE G. TAPKEN
Acting United States Attorney
By:

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CERTIF]CATE OF SERVICE
l. Jonathan A. Kobes, hereby certify that l served a true and correct copy ofthe above
and foregoing Trial l\/Iemorandum on Monica Thomas, Assistant Federal Public Det`endcr.
703 Main Street, 2nd Floor, Rapid City, South Dakota 57701 by hand delivery and facsimile.

this 7th day of February, 2005.

,/ /

l\onathan A. Kobes/

